















		


IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-28,164-02






EX PARTE BRUCE HAMILTON LEE, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM EL PASO COUNTY






	Johnson, J., filed a concurring statment.



S T A T E M E N T   C O N C U R R I N G   I N   D E N I AL   O F   R E L I E F



	I concur in the denial of relief in this case.  However, it appears from the pleadings in this
case and a number of other applications for writ of habeas corpus, that there is great confusion about
the correct calculation of the "remaining portion" and, consequently, the mid-point that is the
delineation between being entitled to credit for time spent on parole or not being so entitled.

	The controlling statute is Tex. Gov't Code § 508.283(c).

(c) If the parole, mandatory supervision, or conditional pardon of a person other than
a person described by Section 508.149(a) is revoked, the person may be required to
serve the remaining portion of the sentence on which the person was released.  For
a person who on the date of issuance of a warrant or summons initiating the
revocation process is subject to a sentence the remaining portion of which is greater
than the amount of time from the date of the person's release to the date of issuance
of the warrant or summons, the remaining portion is to be served without credit for
the time from the date of the person's release to the date of revocation.  For a person
who on the date of issuance of the warrant or summons is subject to a sentence the
remaining portion of which is less than the amount of time from the date of the
person's release to the date of issuance of the warrant or summons, the remaining
portion is to be served without credit for an amount of time equal to the remaining
portion of the sentence on the date of issuance of the warrant or citation.


	Reduced to its essentials, this section states that the first condition for getting credit for 
"street-time" is that the parolee does not have a conviction for any of the criminal offenses listed in
Tex. Gov't Code § 508.149(a).  The second condition is that the parolee must have served, on the
current parole, more than one-half of the time left on his sentence for the offense in question.  The
time served on the current parole is the period of time from the date of release on the current parole
until the date on which the Parole Division issues a parole-revocation warrant or summons.  The
length of that time period is then compared to the time at which the mid-point of the remaining
portion of the parolee's sentence occurs. The calculation of that mid-point is the issue in this case.

	Time that counts for this calculation:

				Flat time: calendar time actually spent in custody in a TDCJ facility on the offense
in question, including pre-trial jail time awarded in the judgment for that
offense.

	Time that doesn't count:

		Time in custody on other convictions.

		Good-time credits of any kind.

	The first part of the calculation is the determination of the length of the sentence.  For
purposes of this discussion, I will assume a sentence of 20 years.  Twenty years is equal to 20 years
x 365 days/year, or 7,300 days.  That is how long an inmate would be in custody if conditional
release was never granted.

	The second step is to determine how many days the parolee was actually in custody.  I will
assume that the parolee has credit for 4 years and 52 days in TDCJ and an additional 132 days of pre-sentence jail credit.  The parolee therefore has credit for a total of 4 years x 365 days/year, or 1,460
days, plus 52 additional days in TDCJ and 132 additional days for pre-sentence jail time, for a total
of 1,644 days.

	The third step is to calculate the time the parolee must successfully serve on parole before
becoming eligible for discharge.  This number is based on flat time.  It does not take into account
credit for good time, bonus time, vocational time, educational time, or any form of time credit other
than flat time. The full sentence is 7,300 days.  Time actually served at the time of release is 1,644
days, leaving the time left to be served at 5,656 days.

	The next step is to determine the half-way point.  This is accomplished by dividing the time
left to be served by 2: 5,656 days/ 2 = 2,828 days or 7 years, 273 days.  This is the time that must be
successfully served on parole before the parolee will earn street time.  	

	The last step, determining whether that half-way point has been met, requires calculating the
number of days between the date of release and the date on which the revocation warrant or
summons issued.  The half-way point is not calculated using the date of arrest or date of revocation;
when the Parole Division issues a revocation warrant or summons, the street-time clock stops. 

	In this case, applicant was sentenced to 18 years (6,570 days) and had served 1902 days' flat
time.  He spent 2046 days on release before the revocation warrant issued.  The remaining portion
of his sentence at the time of release was 6,570 ( full sentence) - 1,902 (flat time) = 4,668 days.  The
mid-point is 4,668/2, or 2,334 days.  He served 2,046 days on parole, fewer than the 2,334 days
required to reach the mid-point.  Applicant did not serve more than half of the time remaining on the
date of his release and is not entitled to credit for street time.  Denial of relief is mandated by the
statute.


Filed: November 15, 2006

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